                                    Case 18-12794-KG                         Doc 1          Filed 12/12/18                 Page 1 of 27
Fill in this information to identify the case

United States Bankruptcy Court for the:

                           District of   Delaware
                                         (State)
Case number (If known):                                       Chapter 11

                                                                                                                                                    ☐ Check if this is
                                                                                                                                                    an amended filing

   Official Form 201
   Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                   04/16
  If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case number (if
  known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


   1.   Debtor’s name                              Checkout Holding Corp.


   2.   All other names debtor used                PDM Merger Sub Corporation
        in the last 8 years

        Include any assumed names, trade
        names, and doing business as
        names



   3.   Debtor’s federal Employer
        Identification Number (EIN)                XX-XXXXXXX


   4.   Debtor’s        Principal place of business                                                        Mailing address, if different from principal place of business
        address
                        200                        Carillon Parkway
                        Number                     Street                                                  Number                      Street



                                                                                                           P.O. Box


                        St. Petersburg             Florida            33716
                        City                       State              ZIP Code                             City                        State           ZIP Code

                                                                                                           Location of principal assets, if different from principal place
                                                                                                           of business
                        Pinellas County
                        County
                                                                                                           Number                      Street




                                                                                                           City                        State           ZIP Code



   5.   Debtor’s website (URL)                     www.catalina.com


   6.   Type of debtor                             ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                                   ☐ Partnership (excluding LLP)
                                                   ☐ Other. Specify:




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Debtor                             Case
                 Checkout Holding Corp.    18-12794-KG                Doc 1        Filed 12/12/18     Page
                                                                                               Case number       2 of 27
                                                                                                           (if known)
                 Name


                                           A. Check one:
 7.      Describe debtor’s business
                                           ☐   Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           ☐   Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           ☐   Railroad (as defined in 11 U.S.C. § 101(44))
                                           ☐   Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           ☐   Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           ☐   Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           ☒   None of the above


                                           B. Check all that apply:
                                           ☐ Tax- entity (as described in 26 U.S.C. § 501)
                                           ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. § 80a-3)
                                           ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                           C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                              http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                               5418 Advertising, Public Relations, and Related Services


                                           Check one:
 8.      Under which chapter of the
         Bankruptcy Code is the            ☐ Chapter 7
         debtor filing?                    ☐ Chapter 9
                                           ☒ Chapter 11. Check all that apply:
                                                            ☐ Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                              insiders or affiliates) are less than $2,566,050 (amount subject to adjustment
                                                              on 4/01/19 and every 3 years after that).
                                                            ☐ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                              debtor is a small business debtor, attach the most recent balance sheet,
                                                              statement of operations, cash-flow statement, and federal income tax return or
                                                              if all of these documents do not exist, follow the procedure in 11 U.S.C. §
                                                              1116(1)(B).
                                                            ☒ A plan is being filed with this petition.
                                                            ☒ Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).
                                                            ☐ The debtor is required to file periodic reports (for example, 10K and 10Q) with
                                                              the Securities and Exchange Commission according to § 13 or 15(d) of the
                                                              Securities Exchange Act of 1934. File the Attachment to Voluntary Petition for
                                                              Non-Individuals Filing for Bankruptcy under Chapter 11 (Official Form 201A)
                                                              with this form.
                                                            ☐ The debtor is a shell company as defined in the Securities Exchange Act of
                                                              1934 Rule 12b-2.
                                           ☐ Chapter 12


 9.      Were prior bankruptcy cases       ☒ No
         filed by or against the debtor
                                           ☐ Yes        District                       When                          Case number
         within the last 8 years?
         If more than 2 cases, attach a                                                              MM/ DD/ YYYY
         separate list.
                                                        District                       When                          Case number

                                                                                                     MM / DD/ YYYY

 10. Are any bankruptcy cases              ☐ No
     pending or being filed by a
     business partner or an                ☒ Yes        Debtor         See Schedule 1                                Relationship   See Schedule 1
     affiliate of the debtor?                           District       See Schedule 1                                When           See Schedule 1
         List all cases. If more than 1,
                                                        Case number, if known                                                       MM / DD/ YYYY
         attach a separate list.




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Debtor                            Case
                Checkout Holding Corp.   18-12794-KG                 Doc 1          Filed 12/12/18     Page
                                                                                                Case number       3 of 27
                                                                                                            (if known)
                Name


   11. Why is the case filed in this       Check all that apply:
       district?
                                           ☒    Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                                immediately preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                           ☐    A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.


 12. Does the debtor own or have
                                           ☒ No
     possession of any real
     property or personal property         ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
     that needs immediate                             Why does the property need immediate attention? (Check all that apply.)
     attention?                                       ☐    It poses or is alleged to pose a threat of imminent and identifiable hazard to public
                                                           health or safety.
                                                           What is the hazard?
                                                      ☐    It needs to be physically secured or protected from the weather.
                                                      ☐    It includes perishable goods or assets that could quickly deteriorate or lose value
                                                           without attention (for example, livestock, seasonal goods, meat, dairy, produce, or
                                                           securities-related assets or other options).

                                                      ☐ Other


                                                    Where is the property?
                                                                                       Number                 Street


                                                                                       City                              State               ZIP Code
                                                    Is the property insured?
                                                                                        ☐ No
                                                                                       ☐ Yes. Insurance agency
                                                                                                  Contact Name
                                                                                                  Phone




                Statistical and administrative information



   13. Debtor’s estimation of          Check one:
       available funds                 ☒    Funds will be available for distribution to unsecured creditors.
                                       ☐    After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

   14. Estimated number of             
                                       ☐    1-49                                      ☒       1,000-5,000                        ☐   25,001-50,000
       creditors                       ☐    50-99                                     ☐       5,001-10,000                       ☐   50,001-100,000
         (on a consolidated basis)     ☐    100-199                                   ☐       10,001-25,000                      ☐   More than 100,000
                                       ☐    200-999

   15. Estimated assets                ☐    $0-$50,000                                ☐       $1,000,001-$10 million             ☐   $500,000,001-$1 billion
       (on a consolidated basis)       ☐    $50,001-$100,000                          ☐       $10,000,001-$50 million            ☒   $1,000,000,001-$10 billion
                                       ☐    $100,001-$500,000                                                                    ☐   $10,000,000,001-$50 billion
                                                                                      ☐       $50,000,001-$100 million
                                       ☐    $500,001-$1 million                                                                  ☐   More than $50 billion
                                                                                      ☐       $100,000,001-$500 million

   16. Estimated liabilities           ☐    $0-$50,000                                ☐       $1,000,001-$10 million             ☐   $500,000,001-$1 billion
       (on a consolidated basis)       ☐    $50,001-$100,000                          ☐       $10,000,001-$50 million            ☒   $1,000,000,001-$10 billion
                                       ☐    $100,001-$500,000                                                                    ☐   $10,000,000,001-$50 billion
                                                                                      ☐       $50,000,001-$100 million
                                       ☐    $500,001-$1 million                                                                  ☐   More than $50 billion
                                                                                      ☐       $100,000,001-$500 million




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Debtor                            Case
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                                                                                                        (if known)
                Name



                Request for Relief, Declaration, and Signatures


 WARNING  Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up
         to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

     17. Declaration and signature of         The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in
         authorized representative of          this petition.
         debtor
                                              I have been authorized to file this petition on behalf of the debtor.

                                              I have examined the information in this petition and have a reasonable belief that the information is
                                               true and correct.
                                               I declare under penalty of perjury that the foregoing is true and correct.

                                                   Executed on       December 12, 2018
                                                                        MM/ DD /YYYY



                                                    /s/ Shelly Schaffer                                      Shelly Schaffer
                                                    Signature of authorized representative of                Printed name
                                                     debtor

                                                    Executive Vice President & Chief Financial Officer
                                                    Title




     18. Signature of attorney                  /s/ Mark D. Collins                                          Date     December 12, 2018
                                               Signature of attorney for debtor                                      MM / DD / YYYY

                                               Mark D. Collins                                              Gary T. Holtzer
                                                 Printed Name
                                          
                                               Richards, Layton & Finger, P.A.                              Weil, Gotshal & Manges LLP
                                                 Firm Name
                                          
                                               One Rodney Square, 920 North King Street                     767 Fifth Avenue
                                                 Number              Street
                                          
                                               Wilmington, Delaware 19801                                   New York, New York 10153
                                                 City / State / ZIP Code
                                          

                                               (302) 651-7700                                               (212) 310-8000
                                                 Contact phone
                                          

                                               collins@rlf.com                                              gary.holtzer@weil.com
                                                 Email address
                                          

                                               2981                   Delaware
                                                 Bar Number             State
                                          




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                                                    Schedule 1

              Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

        On the date hereof, each of the affiliated entities listed below, including the debtor in this
chapter 11 case, filed a voluntary petition for relief under chapter 11 of title 11 of the United
States Code in the United States Bankruptcy Court for the District of Delaware (the “Court”). A
motion will be filed with the Court requesting that the chapter 11 cases of the entities listed
below be consolidated for procedural purposes only and jointly administered pursuant to Rule
1015(b) of the Federal Rules of Bankruptcy Procedure.

                       COMPANY                       CASE NUMBER           DATE FILED      DISTRICT
    Checkout Holding Corp.                            18-________( )   December 12, 2018   Delaware
    Catalina Marketing Corporation                    18-________( )   December 12, 2018   Delaware
    Catalina Marketing Procurement, LLC               18-________( )   December 12, 2018   Delaware
    Catalina Marketing Technology Solutions, Inc.     18-________( )   December 12, 2018   Delaware
    Catalina Marketing Worldwide, LLC                 18-________( )   December 12, 2018   Delaware
    Cellfire Inc.                                     18-________( )   December 12, 2018   Delaware
    Modiv Media, Inc.                                 18-________( )   December 12, 2018   Delaware
    PDM Group Holdings Corporation                    18-________( )   December 12, 2018   Delaware
    PDM Holdings Corporation                          18-________( )   December 12, 2018   Delaware
    PDM Intermediate Holdings A Corporation           18-________( )   December 12, 2018   Delaware
    PDM Intermediate Holdings B Corporation           18-________( )   December 12, 2018   Delaware




                                                    Schedule 1
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                           UNANIMOUS WRITTEN CONSENT OF
                             THE BOARD OF DIRECTORS OF
                              CHECKOUT HOLDING CORP.

               The undersigned, being all of the members of the Board of Directors (the “Board”)
of Checkout Holding Corp., a Delaware corporation, (the “Company”), pursuant to Section 141(f)
of the General Corporation Law of the State of Delaware, hereby consent to, authorize, approve,
ratify and confirm the following resolutions and actions described herein with respect to the
Company by written consent, as of this eleventh day of December, 2018, which shall have the
same force and effect, for all purposes, as if such actions had been taken and adopted at a formal
meeting:

               WHEREAS, the Board has reviewed and had the opportunity to ask questions
about the materials presented by management and the legal and financial advisors of the Company
regarding the liabilities and liquidity of the Company, the strategic alternatives available to them
and the impact of the foregoing on the Company’s business;

                WHEREAS, the Board has had the opportunity to consult with the management
and the legal and financial advisors of the Company to fully consider, and have considered, the
strategic alternatives available to the Company; and

               WHEREAS, the Board desires to approve the following resolutions.

I.     Commencement of Chapter 11 Case

                NOW, THEREFORE, BE IT RESOLVED, that the Board has determined, after
consultation with the management and the legal and financial advisors of the Company, that it is
desirable and in the best interests of the Company, its creditors, and other parties in interest that a
petition be filed by the Company seeking relief under the provisions of chapter 11 of title 11 of the
United States Code (the “Bankruptcy Code”); and be it further

                 RESOLVED, that any officer of the Company (each, an “Authorized Officer”) in
each case, acting singly or jointly, be, and each hereby is, authorized, empowered, and directed,
with full power of delegation, to negotiate, execute, deliver, and file in the name and on behalf of
the Company, and under its seal or otherwise, all plans, petitions, schedules, statements, motions,
lists, applications, pleadings, papers, affidavits, declarations, orders, and other documents in the
United States Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”), and, in
connection therewith, to take and perform any and all further acts and deeds which such Authorized
Officer deems necessary, proper, or desirable in connection with the Company’s chapter 11 case
(each, a “Chapter 11 Case”), including, without limitation, (i) the payment of fees, expenses, and
taxes such Authorized Officer deems necessary, appropriate, or desirable, and (ii) negotiating,
executing, delivering, performing and filing any and all additional documents, schedules,
statements, lists, papers, agreements, certificates, and/or instruments (or any amendments or
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modifications thereto) in connection with, or in furtherance of, the Chapter 11 Case with a view to
the successful prosecution of the Chapter 11 Case (such acts to be conclusive evidence that such
Authorized Officer deemed the same to meet such standard); and be it further

II.    Restructuring Support Agreement; Plan and Disclosure Statement

               RESOLVED, that in connection with the Chapter 11 Case, it is in the best interests
of the Company to enter into a Restructuring Support Agreement (the “Restructuring Support
Agreement”) on terms and conditions substantially similar to those set forth in the form of
Restructuring Support Agreement previously provided to the Board; and be it further

              RESOLVED, that in connection with the Chapter 11 Case, it is in the best interests
of the Company to file with the Bankruptcy Court a plan of reorganization (the “Plan”) and the
corresponding disclosure statement (the “Disclosure Statement”), in each case, on terms and
conditions substantially similar to those set forth in the form of Plan and Disclosure Statement
previously provided to the Board; and be it further

               RESOLVED, that the form, terms and provisions of the Restructuring Support
Agreement, and all the exhibits annexed thereto and the execution, delivery and performance
thereof and the consummation of the transactions contemplated thereunder by the Company are
hereby authorized, approved and declared advisable and in the best interests of the Company, with
such changes therein and additions thereto as any Authorized Officer of the Company, who may
act without the joinder of any other Authorized Officer, executing the same may in such
Authorized Officer’s discretion deem necessary or appropriate, it being acknowledged that the
execution of the Restructuring Support Agreement and such other documents, agreements,
instruments and certificates as may be required or contemplated by the Restructuring Support
Agreement, as applicable, shall be conclusive evidence of the approval thereof; and be it further

                RESOLVED, that the form, terms and provisions of the Plan and Disclosure
Statement and all the exhibits annexed thereto and the execution, delivery and performance thereof
and the consummation of the transactions contemplated thereunder by the Company are hereby
authorized, approved and declared advisable and in the best interests of the Company, with such
changes therein and additions thereto as any Authorized Officer of the Company, who may act
without the joinder of any other Authorized Officer, executing the same may in such Authorized
Officer’s discretion deem necessary or appropriate, it being acknowledged that the execution of
the Plan and Disclosure Statement and such other documents, agreements, instruments and
certificates as may be required or contemplated by the Plan and Disclosure Statement, shall be
conclusive evidence of the approval thereof; and be it further

              RESOLVED, that any Authorized Officer, in each case, acting singly or jointly,
be, and each hereby is, authorized, empowered, and directed, in the name and on behalf of the
Company, to cause the Company to enter into, execute, deliver, certify, file and/or record, and
perform the obligations arising under, the Restructuring Support Agreement, the Plan and
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Disclosure Statement, substantially in the forms previously presented to the Board, together with
such other documents, agreements, instruments and certificates as may be required by the
Restructuring Support Agreement, including the Plan and Disclosure Statement; and be it further

              RESOLVED, that any Authorized Officer, in each case, acting singly or jointly,
be, and each hereby is, authorized, empowered, and directed, in the name and on behalf of the
Company, to execute and deliver any amendments, supplements, modifications, renewals,
replacements, consolidations, substitutions and extensions of the Restructuring Support
Agreement, Plan and Disclosure Statement and/or any of the related documents which shall, in
such Authorized Officer’s sole judgment, be necessary, proper or advisable; and be it further

III.   Debtor-in-Possession Financing

                RESOLVED, that in connection with the Chapter 11 Case, it is in the best interests
of the Company to enter into and obtain loans, and to consummate the transactions under that
certain senior secured super priority debtor-in-possession term loan credit facility in an aggregate
principal amount of up to $275,000,000 consisting of two tranches: (i) a $125,000,000 multiple
draw senior secured term loan facility and (ii) a $150,000,000 tranche of term loans to be evidenced
by that certain Senior Secured Super Priority Debtor-In-Possession Credit Agreement, by and
among, the Company and the guarantors (the “Guarantors”), the lenders from time to time party
thereto (the “Lenders”), and JPMORGAN CHASE BANK, N.A., as administrative agent for the
Lenders (in such capacity and together with its successors, the “Administrative Agent”) (together
with the Exhibits and Schedules annexed thereto, the “DIP Credit Agreement”; capitalized terms
used in this section with respect to debtor-in-possession financing and not otherwise defined herein
shall have the meanings ascribed to such terms in the DIP Credit Agreement) in each case subject
to approval by the Bankruptcy Court, which is necessary and appropriate to the conduct of the
business of the Company (the “Debtor-in-Possession Financing”); and be it further

                RESOLVED, that the execution and delivery of the DIP Credit Agreement and any
DIP Financing Documents (as defined below) to which the Company is party, the consummation
by the Company of the transactions contemplated thereunder, including the borrowing of funds
under the DIP Credit Agreement, the grant of a security interest in and liens upon substantially all
of the Company’s assets in favor of the secured parties (including the authorization of financing
statements in connection with liens) and the execution, delivery and performance of all other
agreements, instruments, documents, notices or certificates constituting exhibits to the DIP Credit
Agreement or that may be required, necessary, appropriate, desirable or advisable to be executed
or delivered pursuant to the DIP Credit Agreement or otherwise related thereto (each a “DIP
Financing Document” and collectively, the “DIP Financing Documents”), the making of the
representations and warranties and compliance with the covenants thereunder and the assumption
of any obligations under and in respect of any of the foregoing, are hereby authorized and approved
in all respects, and that any Authorized Officer, who may act without the joinder of any other
Authorized Officer, is hereby severally authorized, empowered and directed, in the name and on
behalf of the Company, to execute and deliver the DIP Credit Agreement and any other DIP
Financing Document to which the Company is a party, with such changes therein and additions
thereto as any such Authorized Officer, in his or her sole discretion, may deem necessary,
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convenient, appropriate, advisable or desirable, the execution and delivery of the Dip Credit
Agreement and such DIP Financing Document with any changes thereto by the relevant
Authorized Officer, to be conclusive evidence that such Authorized Officer deemed such changes
to meet such standard; and be it further

                RESOLVED, that the form, terms and provisions of each of (i) the DIP Credit
Agreement, including the use of proceeds to provide liquidity for the Company throughout the
Chapter 11 Case, substantially in the form presented to the Board and (ii) any and all of the other
agreements, including, without limitation, any guarantee and security agreement, letters, notices,
certificates, documents and instruments authorized, executed, delivered, reaffirmed, verified
and/or filed in connection with the Debtor-in-Possession Financing and the performance of
obligations thereunder, including the borrowings and guarantees contemplated thereunder, are
hereby, in all respects confirmed, ratified and approved; and be it further

                RESOLVED, that each Authorized Officer of the Company, in each case, acting
singly or jointly, be, and each hereby is, authorized, empowered, and directed, in the name and on
behalf of the Company, to cause the Company to negotiate and approve the terms, provisions of
and performance of, and to prepare, execute and deliver the DIP Credit Agreement and any other
DIP Financing Document, in the name and on behalf of the Company under its corporate seal or
otherwise, and such other documents, agreements, instruments and certificates as may be required
by the Administrative Agent or required by the DIP Credit Agreement and any other DIP Financing
Documents; and be it further

                RESOLVED, that the Company be, and hereby is, authorized to incur the
obligations and to undertake any and all related transactions contemplated under the DIP Credit
Agreement and any other DIP Financing Document including the granting of security thereunder;
and be it further

                RESOLVED, that each Authorized Officer of the Company, in each case, acting
singly or jointly, be, and each hereby is, authorized to grant security interests in, and liens on, any
and all property (including other real property) of the Company as collateral pursuant to the DIP
Credit Agreement and any other DIP Financing Document to secure all of the obligations and
liabilities of the Company thereunder to the Lenders and the Administrative Agent, and to
authorize, execute, verify, file and/or deliver to the Administrative Agent, on behalf of the
Company, all agreements, documents and instruments required by the Lenders in connection with
the foregoing; and be it further

                RESOLVED, that each Authorized Officer of the Company, in each case, acting
singly or jointly, be, and each hereby is, authorized, empowered, and directed, in the name and
on behalf of the Company, to take all such further actions including, without limitation, to pay all
fees and expenses, in accordance with the terms of the DIP Credit Agreement and any other DIP
Financing Document, which shall, in such Authorized Officer’s sole judgment, be necessary,
proper or advisable to perform the Company’s obligations under or in connection with the DIP
Credit Agreement or any other DIP Financing Document and the transactions contemplated therein
and to carry out fully the intent of the foregoing resolutions; and be it further
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                RESOLVED, that each Authorized Officer of the Company, in each case, acting
singly or jointly, be, and each hereby is authorized, empowered, and directed, in the name and on
behalf of the Company, to execute and deliver any amendments, supplements, modifications,
renewals, replacements, consolidations, substitutions and extensions of the DIP Credit Agreement
and/or any of the DIP Financing Documents which shall, in such Authorized Officer’s sole
judgment, be necessary, proper or advisable; and be it further

IV.    Retention of Advisors

                RESOLVED, that, in connection with the Company’s Chapter 11 Case, any
Authorized Officer, in each case, acting singly or jointly, be, and each hereby is, authorized
empowered, and directed, with full power of delegation, in the name and on behalf of the
Company, to employ and retain all assistance in the name and on behalf of the Company, to employ
and retain all assistance by legal counsel, accountants, financial advisors, investment bankers, and
other professionals which such Authorized Officer deems necessary, appropriate, or desirable in
connection with such employment and retention of professionals set forth in this resolution, with
the view to the successful prosecution of the Chapter 11 Case (such acts to be conclusive evidence
that such Authorized Officer deemed the same to meet such standard); and be it further

              RESOLVED, that the firm of FTI Consulting, Inc., located at Three Times Square,
9th Floor, New York, NY 10036, is hereby retained as financial advisor for the Company in the
Chapter 11 Case, subject to Bankruptcy Court approval; and be it further

              RESOLVED, that the firm of Centerview Partners LLC, located at 31 West 52nd
Street, New York, NY 10019, is hereby retained as investment banker for the Company in the
Chapter 11 Case, subject to Bankruptcy Court approval; and be it further

              RESOLVED, that the law firm of Weil, Gotshal & Manges LLP, located at 767
Fifth Avenue, New York, NY 10153, is hereby retained as attorneys for the Company in the
Chapter 11 Case, subject to Bankruptcy Court approval; and be it further

             RESOLVED, that the law firm of Richards, Layton & Finger, P.A., located at One
Rodney Square, 920 North King Street, Wilmington, DE 19801, is hereby retained as attorneys for
the Company in the Chapter 11 Case, subject to Bankruptcy Court approval; and be it further

               RESOLVED, that Prime Clerk LLC, located at 830 Third Avenue, New York, NY
10022, is hereby retained as claims, noticing and solicitation agent for the Company in the Chapter
11 Case, subject to Bankruptcy Court approval; and be it further

V.     General Authorization and Ratification

              RESOLVED, that any Authorized Officers, in each case acting singly or jointly,
be, and each hereby is, authorized, empowered, and directed, in the name and on behalf of the
Company, to cause the Company to enter into, execute, deliver, certify, file and/or record, and
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perform, such agreements, instruments, motions, affidavits, or rulings of governmental or
regulatory authorities, certificates, or other documents, and to take such other actions that in the
judgment of the Authorized Officer shall be or become necessary, proper, or desirable in
connection with the Chapter 11 Case; and be it further

                RESOLVED, that any and all past actions heretofore taken by any Authorized
Officer in the name and on behalf of the Company in furtherance of any or all of the preceding
resolutions be, and the same hereby are, ratified, confirmed, and approved in all respects; and be
it further

                RESOLVED, the secretary or assistant secretary of the Company is authorized to
place a copy of these resolutions in the official records of the Company to document the actions
set forth herein as actions taken by the Board; and be it further

VI.    Subsidiary Actions

               RESOLVED, that the Board hereby authorizes and instructs the governing bodies
of each of the Company’s subsidiaries to adopt substantially similar resolutions to the resolutions
set forth above; and be it further

               RESOLVED, that any Authorized Officer is hereby authorized and directed to
execute, on behalf of the Company in its capacity as member, shareholder, partner or equivalent
thereof of any subsidiary of the Company, any stockholder, shareholder, member, partner or
similar consent required or requested by any subsidiary of the Company to authorize it to take any
of the actions contemplated by the Restructuring Support Agreement, including the Plan and
Disclosure Statement or filing of the Chapter 11 Case.



                                      [Signature Page to Follow]
             Case 18-12794-KG            Doc 1         Filed 12/12/18      Page 12 of 27




             IN WITNESS WHEREOF, the undersigned, being all of the members of the Board
of the Company have executed this unanimous written consent as of the date fir st set forth above.



                                                By:            �
                                                                                  --z                ---

                                                         Thomas Y. Kuo
                                                         Director

                                                By:          � C!(t1----
                                                        �- Lutzker
                                                        Director

                                                By:
                                                         Gregory M. Delaney
                                                         Director

                                                B y:
                                                         Tod Johnson
                                                         Director

                                                By:
                                                          Dr. Christos Cotsakos
                                                          Director

                                                By:
                                                         Brian P. Kelley
                                                         Director




                Signature Page to Unanimous Wriflen Consenl of !he Board of Direc/ors o f Checkolll Holding
                                                 Corp.
              Case 18-12794-KG           Doc 1     Filed 12/12/18       Page 13 of 27



             IN WITNESS WHEREOF, the undersigned, being all of the members of the Board
of the Company have executed this unanimous written consent as of the date first set forth above.



                                               By:
                                                        Thomas Y. Kuo
                                                        Director

                                               By:
                                                        Joshua A. Lutzker
                                                        Director

                                               By:
                                                          MmmArty
                                                        Gregory M. Delaney
                                                        Director

                                               By:
                                                        Tod Johnson
                                                        Director

                                               By:
                                                        Dr. Christos Cotsakos
                                                        Director

                                               By:
                                                        Brian P. Kelley
                                                        Director




                Signature Page to Unanimous Written Consent of the Board of Directors of Checkout Holding
                                                Corp.
             Case 18-12794-KG           Doc 1        Filed 12/12/18     Page 14 of 27




             IN WITNESS WHEREOF, the undersigned, being all of the members of the Board
of the Company have executed this unanimous written consent as of the date first set forth above.



                                               By:
                                                        Thomas Y. Kuo
                                                        Director

                                               By:
                                                        Joshua A. Lutzker
                                                        Director

                                               By:
                                                        Gregory M. Delaney
                                                        Director

                                               By:
                                                        Tod Johnson
                                                              ��
                                                        Director

                                               By:
                                                        Dr. Christos Cotsakos
                                                        Director

                                               By:
                                                        Brian P. Kelley
                                                        Director




                 Signature Page to Unanimous Written Consent of the Board of Directors of Checkout Holding
                                                Corp.
              Case 18-12794-KG           Doc 1     Filed 12/12/18       Page 15 of 27



             IN WITNESS WHEREOF, the undersigned, being all of the members of the Board
of the Company have executed this unanimous written consent as of the date first set forth above.



                                               By:
                                                        Thomas Y. Kuo
                                                        Director

                                               By:
                                                        Joshua A. Lutzker
                                                        Director

                                               By:
                                                        Gregory M. Delaney
                                                        Director

                                               By:
                                                        Tod Johnson
                                                        Director

                                               By:
                                                        Dr. Christos Cotsakos
                                                        Director

                                               By:
                                                        Brian P. Kelley
                                                        Director




                Signature Page to Unanimous Written Consent of the Board of Directors of Checkout Holding
                                                Corp.
              Case 18-12794-KG           Doc 1     Filed 12/12/18       Page 16 of 27



             IN WITNESS WHEREOF, the undersigned, being all of the members of the Board
of the Company have executed this unanimous written consent as of the date first set forth above.



                                               By:
                                                        Thomas Y. Kuo
                                                        Director

                                               By:
                                                        Joshua A. Lutzker
                                                        Director

                                               By:
                                                        Gregory M. Delaney
                                                        Director

                                               By:
                                                        Tod Johnson
                                                        Director

                                               By:
                                                        Dr. Christos Cotsakos
                                                        Director

                                               By:
                                                        Brian P. Kelley
                                                        Director




                Signature Page to Unanimous Written Consent of the Board of Directors of Checkout Holding
                                                Corp.
                                       Case 18-12794-KG                 Doc 1        Filed 12/12/18            Page 17 of 27



Fill in this information to identify the case:

Debtor name: Checkout Holding Corp.
United States Bankruptcy Court for the District of Delaware
                                                        (State)
Case number (If known):

                                                                                                                                                ☐ Check if this is an
                                                                                                                                                amended filing


Official Form 204
Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors
Who Have the 30 Largest Unsecured Claims and Are Not Insiders
                                                                                                                                                                  12/15

A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30
largest unsecured claims.
    Name of creditor and complete mailing    Name, telephone number, and email         Nature of the        Indicate if    Amount of unsecured claim
        address, including zip code             address of creditor contact              claim (for          claim is      If the claim is fully unsecured, fill in only
                                                                                      example, trade       contingent,     unsecured claim amount. If claim is partially
                                                                                     debts, bank loans,   unliquidated,    secured, fill in total claim amount and deduction
                                                                                       professional        or disputed     for value of collateral or setoff to calculate
                                                                                       services, and                       unsecured claim.
                                                                                       government
                                                                                        contracts)
                                                                                                                            Total claim, if    Deduction      Unsecured claim
                                                                                                                              partially       for value of
                                                                                                                              secured         collateral or
                                                                                                                                                  setoff
1       Crescent Mezzanine Partners          Attn.: Daniel Honeker
        Attn.: Daniel Honeker                Phone: (212) 364-0200
        1251 Avenue of the Americas          Email: Daniel.Honeker@crescentcap.com      HoldCo Notes                                                          $200,315,180.90
        Suite 4700
        New York, NY 10020
2       NPS/Crescent Strategic Partnership   Attn.: Daniel Honeker
        Attn.: Daniel Honeker                Phone: (212) 364-0200
        1251 Avenue of the Americas          Email: Daniel.Honeker@crescentcap.com      HoldCo Notes                                                           $85,133,951.90
        Suite 4700
        New York, NY 10020
3       AlpInvest Partners Mezzanine Co-     Attn.: Cameron Fairall
        Investments                          Phone: (212) 332-6240
        Attn.: Cameron Fairall               Email: cameron.fairall@alpinvest.com       HoldCo Notes                                                           $50,078,795.20
        630 Fifth Avenue
        New York, NY 10111
4       GoldPoint Mezzanine Partners         Attn.: Thomas Haubenstricker
        Attn.: Thomas Haubenstricker         Phone: (212) 576-6500
        51 Madison Avenue                    Email:                                     HoldCo Notes                                                           $48,409,502.10
        New York, NY 10010                   thaubenstricker@goldpointpartners.com

5       Nielsen Catalina Solutions           Attn.: Matt O’Grady
        Attn.: Matt O’Grady                  Phone: (513) 488-8333
        500 Fifth Avenue, 56th floor         Email: NCSfinance@ncsolutions.com             Trade             Disputed                                          $3,479,147.80
        New York, NY 10110

6       Epson America Inc.                   Attn.: Antonia Legaspi
        Attn.: Antonia Legaspi               Phone: (800) 463-7766
        3840 Kilroy Airport Way              Email: antonia.legaspi@ea.epson.com           Trade                                                               $2,278,354.40
        Long Beach, CA 90806

7       4Info, Inc.                          Attn.: Ed Koenig
        Attn.: Ed Koenig                     Phone: (650) 350-4747
        155 Bovet Road, Suite 200            Email: ekoenig@4info.com                      Trade                                                               $2,230,371.20
        San Mateo, CA 94402




Official Form 204                                List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders                                 Page 1



WEIL:\96763580\5\34225.0004
                                       Case 18-12794-KG                     Doc 1      Filed 12/12/18              Page 18 of 27
Debtor            Checkout Holding Corp.                                                                        Case number (if known)
                  Name



    Name of creditor and complete mailing        Name, telephone number, and email         Nature of the        Indicate if    Amount of unsecured claim
        address, including zip code                 address of creditor contact              claim (for          claim is      If the claim is fully unsecured, fill in only
                                                                                          example, trade       contingent,     unsecured claim amount. If claim is partially
                                                                                         debts, bank loans,   unliquidated,    secured, fill in total claim amount and deduction
                                                                                           professional        or disputed     for value of collateral or setoff to calculate
                                                                                           services, and                       unsecured claim.
                                                                                           government
                                                                                            contracts)
                                                                                                                                Total claim, if    Deduction      Unsecured claim
                                                                                                                                  partially       for value of
                                                                                                                                  secured         collateral or
                                                                                                                                                      setoff
8       Bain & Company, Inc.                     Attn.: Sarah Solomon
        Attn.: Sarah Solomon                     Phone: (617) 572-2000
        131 Dartmouth St                         Email: sarah.solomon@bain.com              Professional
                                                                                                                 Disputed                                          $1,800,000.00
        Boston, MA 02216                                                                      Services


9       Mindtree Limited                         Attn.: Jayaprakash Nayak
        Attn.: Jayaprakash Nayak                 Phone: (201) 301-5374
        25 Independence Blvd., Suite 401         Email:                                        Trade                                                               $1,000,287.30
        Warren NJ 7059                           mailto:Jayaprakash.SN@mindtree.com

10      Inmar DigItal Promotions Network, Inc.   Attn.: Mark McClelland
        635 Vine Street                          Phone: (800) 765-1277
        Attn.: Mark McClelland                   Email: mark.mcclelland@inmar.com              Trade                                                                $917,345.00
        Winston-Salem, NC 27101

11      CDW Direct                               Attn.: Michael Fabianski
        Attn.: Michael Fabianski                 Phone: (813) 574-5454
        200 N Milwaukee Ave                      Email: michfab@cdw.com                        Trade                                                                $827,420.50
        Vernon Hills, IL 60061

12      Andy Heyman                              Address on File

                                                                                             Severance                                                              $680,770.00


13      Presidio Networked Solutions LLC         Attn.: Mike Deeb
        Attn.: Mike Deeb                         Phone: (813) 416-6916
        12120 Sunset Hills Road, Suite 202       Email: mdeeb@presidio.com                     Trade                                                                $619,183.20
        Reston, VA 20190

14      Pomeroy IT Solutions Sales Company,      Attn.: David Halbig
        Inc. dba Getronics                       Phone: (859) 586-0600
        Attn.: David Halbig                      Email: david.halbig@pomeroy.com               Trade                                                                $580,944.30
        1020 Petersburg Road
        Hebron, KY 41048
15      Contec Americas, Inc.                    Attn.: Brad Jens
        Attn.: Brad Jens                         Phone: (321) 821-7059
        1601 Cloverfield Blvd, #620S             Email: brad.jens@dtx.com                      Trade                                                                $541,615.50
        Santa Monica, CA 90404

16      Open Insights, LLC                       Attn.: Lena Estatieh
        Attn.: Lena Estatieh                     Phone: (206) 256-2029
        P.O. Box 50507                           Email: lena@open-insights.com                 Trade                                                                $530,206.90
        Bellevue, WA 98015

17      Beeswax IO Corporation                   Attn.: Ari Paparo
        Attn.: Ari Paparo                        Phone: (917) 576-1488
        149 5th Avenue, Floor 3                  Email: ari@beeswax.com                        Trade                                                                $507,690.80
        New York, NY 10010

18      Todd Morris                              Address on File

                                                                                             Severance                                                              $499,359.00


19      GlobalLogic, Inc                         Attn.: Chidu Nachiappan
        Attn.: Chidu Nachiappan                  Phone: (425) 628-9738
        1741 Technology Drive, 4th Floor         Email:                                        Trade                                                                $470,663.30
        San Jose, CA 95110                       chidu.nachiappan@globallogic.com




Official Form 204                                    List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders                                 Page 2



WEIL:\96763580\5\34225.0004
                                    Case 18-12794-KG                  Doc 1       Filed 12/12/18              Page 19 of 27
Debtor            Checkout Holding Corp.                                                                   Case number (if known)
                  Name



 Name of creditor and complete mailing      Name, telephone number, and email         Nature of the        Indicate if    Amount of unsecured claim
     address, including zip code               address of creditor contact              claim (for          claim is      If the claim is fully unsecured, fill in only
                                                                                     example, trade       contingent,     unsecured claim amount. If claim is partially
                                                                                    debts, bank loans,   unliquidated,    secured, fill in total claim amount and deduction
                                                                                      professional        or disputed     for value of collateral or setoff to calculate
                                                                                      services, and                       unsecured claim.
                                                                                      government
                                                                                       contracts)
                                                                                                                           Total claim, if    Deduction      Unsecured claim
                                                                                                                             partially       for value of
                                                                                                                             secured         collateral or
                                                                                                                                                 setoff
20    Gregory Mann                          Address on File

                                                                                        Severance                                                              $432,692.30


21    Partegra LLC                          Attn.: Anthony Siracuse
      Attn.: Anthony Siracuse               Phone: (214) 644-6123
      321 E. Exchange Pkwy.                 Email: asiracuse@partegra.com                 Trade                                                                $391,435.00
      Allen, TX 75002

22    Ray Lewis                             Address on File

                                                                                        Severance                                                              $369,230.80


23    Ben Sprecer                           Address on File

                                                                                        Severance                                                              $242,307.70


24    Advanced Systems                      Attn.: Tippi Leska
      Attn.: Tippi Leska                    Phone: (727) 539-8054
      15373 Roosevelt Blvd., Suite 200      Email: tippi.leska@advsys.us                  Trade                                                                $240,648.30
      Clearwater, FL 33760

25    Trintas, LLC.                         Attn.: Anthony Siracuse
      Attn.: Anthony Siracuse               Phone: (214)644-6123
      321 E. Exchange Pkwy.                 Email: asiracuse@trintas.com                  Trade                                                                $240,528.70
      Allen, TX 75002

26    Genpact International Inc.            Attn.: Bhava Kompala
      Attn.: Bhava Kompala                  Phone: (847) 668-6749
      1000 Hawkins Blvd., Suite A           Email: Bhava.Kompala@genpact.com           Professional
                                                                                                                                                               $211,270.50
      El Paso, TX 79915                                                                  Services


27    Celtra, Inc.                          Attn.: Mark Dorman
      Attn.: Mark Dorman                    Phone: (617) 401-2262
      545 Boylston Street, 11th Floor       Email: Mark.dorman@celtra.com                 Trade                                                                $154,811.00
      Boston, MA 02116

28    United Parcel Service                 Attn.: Trevor Grech
      Attn.: Trevor Grech                   Phone: (941) 686-6203
      P.O. Box 7247-0244                    Email: tgrech@ups.com                         Trade                                                                $151,201.80
      Philadelphia, PA 19170

29    Veredus Corp                          Attn.: Andy Stenler
      Attn.: Andy Stenler                   Phone: (813) 293-9360
      4300 West Cypress Street, Suite 900   Email: Andy.Stenler@hays.com                  Trade                                                                $147,457.50
      Tampa, FL 33607

30    Mark Davies                           Address on File

                                                                                        Severance                                                              $136,950.50




Official Form 204                               List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders                                 Page 3



WEIL:\96763580\5\34225.0004
                         Case 18-12794-KG                   Doc 1         Filed 12/12/18              Page 20 of 27



Fill in this information to identify the case:

Debtor name: Checkout Holding Corp.
United States Bankruptcy Court for the District of Delaware
                                                    (State)
Case number (If known):




Official Form 202
 Declaration Under Penalty of Perjury for Non-Individual Debtors                                                               12/15


An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the
document, and any amendments of those documents. This form must state the individual’s position or relationship to the debtor,
the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING – Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by
fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C.
§§ 152, 1341, 1519, and 3571.


             Declaration and signature



     I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
     partnership; or another individual serving as a representative of the debtor in this case.
     I have examined the information in the documents checked below and I have a reasonable belief that the information is
     true and correct:
     ☐      Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
     ☐      Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
     ☐      Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
     ☐      Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
     ☐      Schedule H: Codebtors (Official Form 206H)
     ☐      Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
     ☐      Amended Schedule ____
           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders
            (Official Form 204)
     ☐      Other document that requires a declaration

     I declare under penalty of perjury that the foregoing is true and correct.


     Executed on December 12, 2018
                                                      /s/ Shelly Schaffer
                    MM / DD /YYYY                      Signature of individual signing on behalf of debtor

                                                       Shelly Schaffer
                                                       Printed name

                                                       Executive Vice President & Chief Financial Officer
                                                       Position or relationship to debtor




Official Form 202                                Declaration Under Penalty of Perjury for Non-Individual Debtors

WEIL:\96763580\5\34225.0004
                   Case 18-12794-KG           Doc 1      Filed 12/12/18        Page 21 of 27



                              UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF DELAWARE

------------------------------------------------------------ X
                                                             :
In re                                                        :      Chapter 11
                                                             :
CHECKOUT HOLDING CORP., et al.,                              :      Case No. 18-[_____] (___)
                                                             :
                  Debtors.1                                  :      Joint Administration Requested
                                                             :
------------------------------------------------------------ X

         CONSOLIDATED CORPORATE OWNERSHIP STATEMENT
PURSUANT TO FEDERAL RULES OF BANKRUPTCY PROCEDURE 1007 AND 7007.1

                    Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy

Procedure, annexed hereto as Exhibit A is an organizational chart reflecting all of the ownership

interests in Checkout Holding Corp. (“CHC”) and its affiliated debtors in the above-captioned

chapter 11 cases, as debtors and debtors in possession (collectively, the “Debtors”).                         The

Debtors respectfully represent as follows:

                      1.      PDM Group Holdings Corporation, which is the ultimate parent

    company of CHC, owns 100% of the common stock of PDM Intermediate Holdings A

    Corporation (“Holdings A”).

                      2.      Holdings A has a 100% ownership of the common stock of PDM

    Intermediate Holdings B Corporation (“Holdings B”).

                      3.      Holdings B owns 100% of the common stock of PDM Holdings

    Corporation (“PDM Holdings”).

1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Catalina Marketing Corporation (9007); Catalina Marketing Procurement, LLC (9333); Catalina
Marketing Technology Solutions, Inc. (8728); Catalina Marketing Worldwide, LLC (9687); Cellfire Inc. (5599);
Checkout Holding Corp. (4651); Modiv Media, Inc. (3507); PDM Group Holdings Corporation (9148); PDM
Holdings Corporation (5025); PDM Intermediate Holdings A Corporation (6409); and PDM Intermediate Holdings
B Corporation (3278). The Debtors’ principal offices are located at 200 Carillon Parkway, St. Petersburg, FL
33716. 




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                   Case 18-12794-KG          Doc 1        Filed 12/12/18   Page 22 of 27



                      4.      CHC is a wholly owned subsidiary of PDM Holdings and CHC owns

 100% of the common stock of Catalina Marketing Corporation (“CMC”).

                      5.      Each of the following Debtors are wholly owned subsidiaries of CMC:

                              a.     Catalina Marketing Procurement, LLC;

                              b.     Catalina Marketing Technology Solutions, Inc.;

                              c.     Catalina Marketing Worldwide, LLC;

                              d.     Cellfire Inc.; and

                              e.     Modiv Media, Inc.

                      6.      An organizational chart that illustrates the Debtors’ corporate structure

 is attached as Exhibit A.




                                                      2
WEIL:\96763580\5\34225.0004
Case 18-12794-KG    Doc 1    Filed 12/12/18   Page 23 of 27



                        Exhibit A

                   Organizational Chart 
                                                                                                                                                                                                          Legend
                                                                                                                    PDM Group
                                                                                                                Holdings Corporation                                                 Non-Debtor                      Debtor




                                                                                                                 PDM Intermediate                                                    JV Partner
                                                                                                               Holdings A Corporation



                                                                                                                 PDM Intermediate
                                                                                                               Holdings B Corporation




                                                                                                                       PDM
                                                                                                                Holdings Corporation




                                                                                                             Checkout Holding Corp.
                                                                                                                                                                                                                                                                                           Case 18-12794-KG




The Nielsen Company                                                                                              Catalina Marketing
      (US), LLC                                                                                                     Corporation




      63.5%
                                                                                                                                                                                                                                                                                           Doc 1




                      36.5%




                                 Cellfire Inc.                       Catalina Marketing   Catalina Electronic Clearing             Catalina Marketing      Catalina Digital           Catalina Marketing           Catalina Marketing                                       Supermarkets Online
              NC Ventures, LLC                   Modiv Media, Inc.   Procurement, LLC            Services, Inc.                   Loyalty Holdings Inc.    Holdings, LLC           Technology Solutions, Inc.       Worldwide, LLC                                             Holdings, Inc.
                                                                                                                                                                                                                                                               1%
                                                                                                                         20%
                                                                                                                               80%                                                                                                                     99%



                                                                                                                                                              Catalina Marketing                                   Catalina Marketing
                                                                                                                                                                                       Catalina Marketing                                          CM International C.V.   Supermarkets Online,
                                                                                                             Catalina-Pacific Media, LLC                         Italia, S.R.L.                                    Costa Rica, S.R.L.
                                                                                                                                                                                                                                                                                           Filed 12/12/18




                                                                                                                                                                                       Deutschland GmbH                                                                           Inc.




                                                                                               Catalina Marketing                                                                                                             Catalina Marketing
                                                                                                                                 CMJ Investments, L.L.C.                                                                        Bermuda Ltd.
                                                                                                  Japan K.K.




                                                                                                                                                                                                                                                    Catalina Marketing
                                                                                                                                                                                                                                                     Coöperatief U.A.
                                                                                                                                                                                                                                                                                           Page 24 of 27




                                                                                                                                                                                                                                                    Catalina Marketing
                                                                                                                                                                                                                                                    International B.V.




                                                                                                                                                                                                                   Catalina Marketing                                       Catalina Marketing
                                                                                                                                                                                                                                                    Catalina Marketing
                                                                                                                                                                                                                     France, S.A.S.                                        (Shanghai) Co., Ltd.
                                                                                                                                                                                                                                                       U.K. Limited




                                                                                                                                                                                                                                                     Savings4Me, Ltd
                         Case 18-12794-KG                  Doc 1          Filed 12/12/18              Page 25 of 27



Fill in this information to identify the case:

Debtor name: Checkout Holding Corp.
United States Bankruptcy Court for the District of Delaware
                                                    (State)
Case number (If known):




Official Form 202
 Declaration Under Penalty of Perjury for Non-Individual Debtors                                                               12/15


An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the
document, and any amendments of those documents. This form must state the individual’s position or relationship to the debtor,
the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING – Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by
fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C.
§§ 152, 1341, 1519, and 3571.


             Declaration and signature



     I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
     partnership; or another individual serving as a representative of the debtor in this case.
     I have examined the information in the documents checked below and I have a reasonable belief that the information is
     true and correct:
     ☐      Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
     ☐      Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
     ☐      Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
     ☐      Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
     ☐      Schedule H: Codebtors (Official Form 206H)
     ☐      Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
     ☐      Amended Schedule ____
     ☐      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders
            (Official Form 204)
           Other document that requires a declaration Consolidated Corporate Ownership Statement

     I declare under penalty of perjury that the foregoing is true and correct.


     Executed on December 12, 2018
                                                      /s/ Shelly Schaffer
                    MM / DD /YYYY                      Signature of individual signing on behalf of debtor

                                                       Shelly Schaffer
                                                       Printed name

                                                       Executive Vice President & Chief Financial Officer
                                                       Position or relationship to debtor




Official Form 202                          Declaration Under Penalty of Perjury for Non-Individual Debtors

WEIL:\96763580\5\34225.0004
                   Case 18-12794-KG           Doc 1         Filed 12/12/18        Page 26 of 27



                              UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF DELAWARE

------------------------------------------------------------ x
In re                                                        :
                                                             :             Chapter 11
                                                             :
CHECKOUT HOLDING CORP.                                       :             Case No. 18– ________ ( )
                                                             :
                                                             :
                           Debtor.                           :
------------------------------------------------------------ x

                                      LIST OF EQUITY HOLDERS1

                    Pursuant to Rule 1007(a)(3) of the Federal Rules of Bankruptcy Procedure, the

following identifies all holders having a direct or indirect ownership interest of the above-

captioned debtor in possession (the “Debtor”).

Check applicable box:

☐ There are no equity security holders or corporations that directly or indirectly own 10% or
more of any class of the debtor’s equity interest.

☒ The following are the debtor’s equity security holders (list holders of each class, showing the
number and kind of interests registered in the name of each holder, and the last known address or
place of business of each holder):

    Name and Last Known Address or Place of                            Kind/Class of         Number of
              Business of Holder                                         Interest          Interests Held

                PDM Holdings Corporation
                   200 Carillon Parkway                               Common Stock              100%
               St. Petersburg, Florida 33716




1
 This list serves as the required disclosure by the Debtor pursuant to Rule 1007 of the Federal Rules of Bankruptcy
Procedure. All equity positions listed are as of the date of commencement of the chapter 11 case.

                                                  List of Equity Holders


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                         Case 18-12794-KG                  Doc 1          Filed 12/12/18              Page 27 of 27



Fill in this information to identify the case:

Debtor name: Checkout Holding Corp.
United States Bankruptcy Court for the District of Delaware
                                                    (State)
Case number (If known):




Official Form 202
 Declaration Under Penalty of Perjury for Non-Individual Debtors                                                               12/15


An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the
document, and any amendments of those documents. This form must state the individual’s position or relationship to the debtor,
the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING – Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by
fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C.
§§ 152, 1341, 1519, and 3571.


             Declaration and signature



     I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
     partnership; or another individual serving as a representative of the debtor in this case.
     I have examined the information in the documents checked below and I have a reasonable belief that the information is
     true and correct:
     ☐      Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
     ☐      Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
     ☐      Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
     ☐      Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
     ☐      Schedule H: Codebtors (Official Form 206H)
     ☐      Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
     ☐      Amended Schedule ____
     ☐      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders
            (Official Form 204)
           Other document that requires a declaration List of Equity Holders

     I declare under penalty of perjury that the foregoing is true and correct.


     Executed on December 12, 2018
                                                      /s/ Shelly Schaffer
                    MM / DD /YYYY                      Signature of individual signing on behalf of debtor

                                                       Shelly Schaffer
                                                       Printed name

                                                       Executive Vice President & Chief Financial Officer
                                                       Position or relationship to debtor
                                                                          fto




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